                   Case: 4:22-mj-06169-CEH Doc #: 1 Filed: 08/03/22 1 of 1. PageID #: 1
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT                                            FILED
                                                               for the
                                                                                                      4:52 pm Aug 03 2022
                                                   NorthernDistrict
                                                __________ Districtof
                                                                    of__________
                                                                       Ohio                          Clerk U.S. District Court
                                                                                                     Northern District of Ohio
                  United States of America                        )                                        Youngstown
                              v.                                  )
                    Richard John Steinle
                                                                  )      Case No. 4:22 MJ 6169
                                                                  )
                                                                  )
                                                                  )
                                                                  )
                          Defendant(s)


                                                CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   July 27, 2022               in the county of                Summit         in the
     Northern          District of            Ohio            , the defendant(s) violated:

            Code Section                                                    Offense Description
        18 U.S.C. § 1716j)(1)                  Injurious Articles as Nonmailable




          This criminal complaint is based on these facts:
SEE ATTACHED AFFIDAVIT.




          ✔ Continued on the attached sheet.
          u


                                                                                             Complainant’s signature

                                                                            Daniel J. Senchesak, U.S. Postal Inspector, USPIS
6ZRUQWRYLDWHOHSKRQHDIWHUVXEPLVVLRQE\UHOLDEOH                                          Printed name and title
HOHFWURQLFPHDQV)HG5&ULP3 G DQG



Date:         August 3, 2022
                                                                                                Judge’s signature

City and state:                         Youngstown, Ohio                      Carmen E. Henderson, U.S. Magistrate Judge
                                                                                              Printed name and title
